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16
                           UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18     Lucas R., et. al.,                  Case No.: 18-cv-05741-DMG-PLA
19
                        Plaintiffs,            DECLARATION OF
20
                                               W. DANIEL SHIEH IN
21                v.                           SUPPORT OF DEFENDANTS’
22                                             REPLY TO DEFENDANTS’
       Alex M. Azar,                           MOTION FOR PARTIAL
23     Secretary of U.S. Dep’t of Health and   SUMMARY JUDGMENT
24     Human Services, et al.
25                      Defendants.
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              Declaration of W. Daniel Shieh in Support of Defendants’ Reply
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 1                     DECLARATION OF W. DANIEL SHIEH, ESQ.
 2           I, W. Daniel Shieh, declare and state as follows:
 3           1.      I am an attorney in good standing and admitted to practice before this
 4   Court and a Senior Litigation Counsel at the United States Department of Justice,
 5   Civil Division, Office of Immigration Litigation, Appellate Litigation Section. I
 6   am a member of the State Bar of New York. I am counsel of record for
 7   Defendants Alex M. Azar, Secretary of the United States Department of Health
 8   and Human Services, et al. I make this Declaration in support of Defendants’
 9   Opposition to Plaintiffs’ Motion for Partial Summary Judgment. I have personal
10   knowledge of the following facts and if called upon to testify, would and could do
11   so competently as follows. Because I submit this Declaration for a limited
12   purpose, it does not contain all information I know about the above-captioned
13   matter.
14           2.      Attached hereto as Defendants’ Exhibit 86 is a true and correct copy
15   of Supplemental Excerpts from the Deposition Transcript of Melissa Cook,
16   November 18, 2019.
17           3.      Attached hereto as Defendants’ Exhibit 87 is a true and correct copy
18   of Excerpts from the Deposition Transcript of Lorilei Williams, July 2, 2019.
19           4.      Attached hereto as Defendants’ Exhibit 88 is a true and correct copy
20   of Excerpts from the Report of Mae Quinn, June 19, 2020.
21           5.      Attached hereto as Defendants’ Exhibit 89 is a true and correct copy
22   of Excerpts from the Deposition Transcript of Mae Quinn, July 27, 2020.
23           6.      Attached hereto as Defendants’ Exhibit 90 is a true and correct copy
24   of the redacted Supplemental Excerpts from the Deposition Transcript of David
25   Fink, February 12, 2020.
26           7.      Attached hereto as Defendants’ Exhibit 91 is a true and correct copy
27   of Excerpts from the Deposition Transcript of Dr. Javier Ruiz, September 25,
28   2020.

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                  Declaration of W. Daniel Shieh in Support of Defendants’ Reply
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 1         8.      Attached hereto as Defendants’ Exhibit 92 is a true and correct copy
 2   of the Declaration of Dr. Joseph P. Ryan, November 18, 2020.
 3         9.      Attached hereto as Defendants’ Exhibit 94 is a true and correct copy
 4   of the redacted Yolo County Probation Department Budget Narrative, Bates
 5   stamped Yolo-00466 through Yolo-00468.
 6         10.     Attached hereto as Defendants’ Exhibit 95 is a true and correct copy
 7   of the Shiloh Cooperative Agreement, Bates stamped Shiloh 000091 through
 8   Shiloh 000122.
 9
10         I declare under penalty of perjury under the laws of the United States that
11   the forgoing is true and correct.
12
13         Executed November 20, 2020, in Washington, D.C.
14
15                                          /s/ W. Daniel Shieh
                                            W. DANIEL SHIEH
16                                          Senior Litigation Counsel
17                                          Office of Immigration Litigation
                                            United States Department of Justice
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                Declaration of W. Daniel Shieh in Support of Defendants’ Reply
